        Case 4:11-cr-00156-JM          Document 800       Filed 06/23/16      Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                               PLAINTIFF

v.                                 NO. 4:11CR00156-02-JLH
                                    NO. 4:16CV00408-JLH
MICHAEL RICHARD MEILKE                                                              DEFENDANT

                                             ORDER

       Michael Richard Meilke has filed a pro se motion to vacate, set aside or correct sentence

under 28 U.S.C. § 2255, based on Johnson v. United States, 135 S. Ct. 2551 (2015). For the reasons

set out below, the motion is denied.

       Defendant was not sentenced based on the “residual clause” of Armed Career Criminal Act

that was held unconstitutional in Johnson. Rather, his sentence was based on the drug quantity table

and a statutory mandatory consecutive 60 months because he had a firearm in furtherance of a drug

trafficking offense.

       Accordingly, the motion to vacate, set aside or correct sentence under 28 U.S.C. § 2255 is

denied. Document #799. No certificate of appealability will be issued.

       IT IS SO ORDERED this 23rd day of June, 2016.



                                                     __________________________________
                                                     UNITED STATES DISTRICT JUDGE
